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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

                                                    :
UNITED STATES OF AMERICA,                           :
                                                    : Crim. Action No. 11-452 (FLW)
       v.                                           :
                                                    : OPINION
KASHEEF McCALLA,                                    :
                                                    :
                      Defendant.                    :
                                                    :

WOLFSON, Chief Judge:
       Defendant Kasheef McCalla (“Defendant”), a prisoner currently serving a 120-month

sentence at FCI Fort Dix (“Fort Dix”), has renewed his previous motion for compassionate

release pursuant to the First Step Act (“FSA”), 18 U.S.C. § 3582(c)(1)(A). The Court denied

Defendant’s prior motion because he failed to exhaust his administrative remedies under the

statute. In the instant motion, Defendant again seeks release from Fort Dix to home confinement

based on various medical ailments. The Government opposes Defendant’s motion, maintaining,

among other things, that his condition is well managed at Fort Dix, and that he would present a

danger to the public if released from prison. For the reasons set forth below, Defendant’s motion

is GRANTED.

I.     FACTUAL BACKGROUND

       Defendant was a member of a drug trafficking gang called the “Detroit Boyz,” which

conspired to distribute large quantities of cocaine and heroin throughout the metropolitan areas

of Trenton, New Jersey, and Morrisville, Pennsylvania. Presentencing Investigation Report

(“PSR”), ¶¶ 54-56. On June 10, 2011, Defendant was arrested after he was pulled over in Dover,

Delaware; a subsequent search of his car revealed 245 grams of cocaine in the trunk of his rental

vehicle, and 26.2 more grams of cocaine in Defendant’s pocket. PSR, ¶ 118. On that same date,



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Defendant’s residence was searched and law enforcement recovered an additional 24.5 grams of

cocaine, and a semiautomatic pistol with ten rounds of ammunition in its magazine. PSR ¶ 124.

On August 2, 2011, Defendant was released from prison to await trial pursuant to a court order

that confined him to his household. ECF No. 121.

       On May 18, 2012, Defendant pled guilty to the following two criminal charges: (1)

conspiracy to distribute heroin, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B); and (2)

possession of a firearm in furtherance of a drug trafficking crime, in violation of 18 U.S.C. §§

924(c)(1)(A)(i) and 2. ECF Nos. 302, 320. On November 14, 2012, this Court sentenced

Defendant to two terms of imprisonment of 60 months for each charge, for an aggregate sentence

of 120 months. ECF No. 388. In addition, Defendant was sentenced to 5 years of supervised

release following his imprisonment, and he was ordered to pay a special assessment of $200.

ECF No. 388. On December 28, 2012, Defendant self-surrendered to the Bureau of Prisons

(“BOP”) at FCI Fairton, and he has since transferred to Fort Dix, with a scheduled release date in

December 2021. To date, Defendant has served about seven-and-a-half years of his ten-year

prison sentence.

       On April 8, 2020, Defendant filed a letter application in his civil habeas matter, seeking

“early release” from imprisonment, in light of the “current situation with the corona virus

pandemic.” See McCalla v. United States, No. 13-6977, ECF No. 24. On April 13, 2020, this

Court denied Defendant’s letter request without prejudice, because he had failed to exhaust his

administrative remedies with the BOP, or satisfied the prefiling waiting period as required under

the FSA, before seeking relief from the Court. ECF No. 25. In the Order, the Court explained

that the procedural prerequisites under the statute could not be waived. Id. On that same date,

Defendant filed a motion in his criminal case, entitled “Application for Modification of Sentence




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Pursuant to 18 U.S.C. Section 3582(c)(1)(A)(i) as a Result of Covid-19,” wherein he sought to

excuse the exhaustion requirements under § 3582(c)(1)(A)(i) of the FSA. ECF No. 497.

However, on April 15, 2020, this Court again denied Defendant’s request, for the reasons set

forth in the previous April Order. ECF. No 498. On April 21, 2020, Defendant submitted a

formal letter application to the BOP seeking compassionate release, to which the BOP did not

respond.

       On May 22, 2020, Defendant filed the instant motion seeking compassionate release

under the FSA. ECF No. 501. Therein, Defendant requests permission from this Court to serve

the remainder of his sentence on home confinement, at his mother’s residence in Trenton, New

Jersey. In support, Defendant argues that he has a significant risk of contracting Covid-19 while

incarcerated, and that he is at risk of death or developing significant complications if he is

infected with the virus, because he suffers from chronic asthma and other ailments, including

high blood pressure, overweightness, chest pains, and stage 3 chronic renal disease. In addition,

Defendant maintains that he is not a danger to the public, and that he will not engage in further

criminal conduct when released. The Government opposes Defendant’s motion on two grounds,

arguing that he did not fully exhaust his administrative remedies under the FSA, and that his

request for compassionate relief is inappropriate, based upon the factors set forth in 18 U.S.C. §

3582(a).

II.    DISCUSSION

       Once a federally imposed prison sentence commences, a federal district court has limited

authority to modify that sentence. Dillon v. United States, 560 U.S. 817, 825 (2010) (“‘[A]

judgment of conviction that includes [a sentence of imprisonment] constitutes a final judgment’

and may not be modified by a district court except in limited circumstances.”) (quoting 18




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U.S.C. § 3582(b)). One such authority for modifying a prison sentence is found in the recently-

enacted First Step Act, which allows a defendant to be afforded compassionate release for

“extraordinary and compelling reasons.” 18 U.S.C. § 3582(c)(1)(A)(i). The statute provides, in

relevant part:

                 (c) Modification of an imposed term of imprisonment. The court
                 may not modify a term of imprisonment once it has been imposed
                 except that—

                   (1) in any case—

                       (A) the court, upon motion of the Director of the Bureau of
                       Prisons, or upon motion of the defendant after the
                       defendant has fully exhausted all administrative rights to
                       appeal a failure of the Bureau of Prisons to bring a motion
                       on the defendant’s behalf or the lapse of 30 days from the
                       receipt of such a request by the warden of the defendant’s
                       facility, whichever is earlier, may reduce the term of
                       imprisonment (and may impose a term of probation or
                       supervised release with or without conditions that does not
                       exceed the unserved portion of the original term of
                       imprisonment), after considering the facts set forth in
                       section 3553(a) to the extent that they are applicable, if it
                       finds that –

                            (i) extraordinary and compelling reasons warrant such
                            a reduction.

18 U.S.C. § 3582(c)(1)(A)(i). Thus, a defendant seeking a reduction in his sentence under the

First Step Act “bears the burden of satisfying both that he has (1) exhausted remedies before

seeking judicial review, and (2) that compelling and extraordinary reasons exist to justify

compassionate release.” United States v. Sellers, Crim. No. 10-434, 2020 U.S. Dist. LEXIS

72991, at *2 (D.N.J. Apr. 24, 2020) (citing 18 U.S.C. § 3582(c)(1)(A)); United States v.

Alexander, Crim. No. 19-31, 2020 U.S. Dist. LEXIS 85609, at *6 (D.N.J. May 15, 2020)

(citations omitted).




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       Congress did not define the term “compelling and extraordinary reasons,” but instead

directed the Sentencing Commission to define the term. See 28 U.S.C. § 994(t) (providing that

the Sentencing Commission “shall describe what should be considered extraordinary and

compelling reasons for sentence reduction, including the criteria to be applied and a list of

specific examples”). While the Sentencing Commission previously defined that term as it relates

to the BOP’s discretion under the previous version of section 3582(c)(1)(A), it has not, however,

updated its Policy Statement since the passage of the First Step Act. See United States v.

Rodriquez, ___ F. Supp. 3d ___, 2020 U.S. Dist. LEXIS 58718, at *3 (E.D. Pa. Apr. 1, 2020);

see also U.S. Sentencing Guidelines Manual (“U.S.S.G.”), § 1B1.3, Application Note 1 (U.S.

Sentencing Comm’n 2018).

       Nevertheless, the Policy Statement provides useful guidance for district courts in

assessing a defendant’s eligibility for compassionate release, but it “does not constrain [a court’s]

independent assessment of whether ‘extraordinary and compelling reasons’ warrant a sentence

reduction under § 3852(c)(1)(A).” Rodriquez, 2020 U.S. Dist. LEXIS 58718, at *4 (alteration in

original) (quoting United States v. Beck, 425 F. Supp. 3d 573, 581–82 (M.D.N.C. 2019)). The

Policy Statement provides that a defendant may show extraordinary and compelling reasons for

compassionate release based on the medical condition of the defendant, the age of the defendant,

the defendant’s family circumstances, or for “other reasons.” U.S.S.G. § 1B1.13, Application

Note 1. Relevant here, a defendant may show extraordinary and compelling reasons for release

based on a medical condition where (1) “[t]he defendant is suffering from a terminal illness (i.e.,

a serious and advanced illness with an end of life trajectory),” or (2) he or she is “(I) suffering

from a serious physical or medical condition, (II) suffering from a serious function or cognitive

impairment, or (III) experiencing deteriorating physical or mental health because that of the




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aging process, that substantially diminishes the ability of the defendant to provide self-care

within the environment of a correctional facility and from which he or she is not expected to

recover.” Id; see United States v. Epstein, Crim. No. 14-2871, 2020 U.S. Dist. LEXIS 87653, at

*7-8 (D.N.J. May 18, 2020).

       A review of the pertinent medical evidence and certifications reveal that Defendant’s

medical condition is a compelling reason warranting release. 1 Defendant’s mother, Linda

McCalla (“Ms. McCalla”), has submitted a certification in which she states that her son was

diagnosed with bronchial asthma since birth. Certification of Linda McCalla, ¶ 2. Ms. McCalla

further states that Defendant suffered a collapsed lung when he was 4, which required an

extensive hospitalization, and that he continues to experience asthma attacks and difficulties

breathing while incarcerated. Id., ¶ 5. For instance, on May 12, 2019, after Defendant had an

asthma attack in prison, he was brought to an outside hospital for medical treatment. Id., ¶¶ 8-9;

Gov. Ex. B-1. On April 30, 2020, Defendant required medical intervention and the provision of a

new prescription inhaler, because he was experiencing difficulties breathing. Id., ¶ 10. And,

while this motion was pending, Defendant had another asthma attack that caused him to faint,

after which he was brought to an outside hospital where he remained over night, before returning

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        As a threshold issue, the parties dispute whether Defendant has satisfied the FSA’s
procedural prerequisites. In particular, the Government argues that Defendant’s letter from April
21, 2020 to the BOP does not suffice for exhaustion purposes, because, in it, Defendant sought
“to be placed on home confinement,” not “compassionate release,” and he did not include a
required “proposed release plan.” Thus, according to the Government, the BOP treated
Plaintiff’s application as a request to be placed on home confinement, which is statutorily
different from a request for companionate release. However, I find that Defendant has exhausted
his administrative remedies under the FSA, before seeking judicial review. Indeed, in an Order
issued on April 15, 2020, the Court construed Defendant’s prior application as a request for
compassionate release, and denied it based on his failure to exhaust his administrative remedies.
There is no dispute that the BOP was aware of this Court’s Order. In fact, on the date after this
Court denied Defendant’s compassionate release request, the BOP provided Defendant with a
pre-labeled form, entitled “Request for Administrative Remedy,” which he then completed and
submitted within that same week, i.e., April 21, 2020. Therefore, based on the timing of these


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to Fort Dix in the morning. Supplemental Certification of Linda McCalla, ¶ 5. In addition to his

bronchial asthma, the medical evidence reveals that Defendant, who is overweight, suffers from

high blood pressure and has stage 3 chronic renal disease (which is in remission). Id. at 6; Gov.

Ex. B-1.

       The Government does not dispute the extent of Defendant’s medical ailments, but rather

contends that his condition, as a whole, is well managed at Fort Dix. Government’s Brief, at 7.

However, while the doctors at Fort Dix have treated Defendant, the record reveals that on

multiple occasions, despite the use of prescription medication, Defendant was required to receive

outside medical care because of his severe asthma attacks. In addition, the Government concedes

that Defendant’s condition meets the threshold requirement of U.S.S.G. § 1B1.13, Application

Note 1—that he suffers from a medical ailment, in particular, bronchial asthma, which renders

him “less able to protect himself against an unfavorable outcome” from Covid-19. Government’s

Brief, at 7. In fact, Dr. Ravi Sood, a doctor at Fort Dix, concluded that Defendant “is at higher

risk of severe Covid-19 illness because of his chronic bronchial asthma”—a medical assessment

consistent with CDC guidelines. Gov. Ex. B-1. Indeed, according to the CDC, indiviudals who

“are at higher risk for severe illness” from Covid-19 include those who, like Defendant, suffer

from “chronic lung disease or moderate to severe asthma.”2 Moreover, despite the significant

health risks that the virus poses to Defendant, he is unable to practice effective social distancing

at Fort Dix, where he shares a cell with 11 other inmates. In contrast, Defendant will be able to

decrease his exposure if he serves the remaining limited portion of his sentence on home

confinement at his mother’s residence in Trenton. Therefore, considering these circumstances, in




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       See         https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-
higher-risk.html (lasted visited June 25, 2020).


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total, Defendant has provided a compelling reason for compassionate release, based on his

condition.

        The Sentencing Commission’s Statement also provides that a defendant will not be

eligible for compassionate release, unless he does not present “a danger to the safety of any other

person or to the community[.]” U.S.S.G. § 1B1.13(2). I find that Defendant satisfies this

requirement, as he does not pose an immediate threat to the public. Indeed, although the

Government contends that this was not Defendant’s “first drug trafficking offense,” and that his

most recent wrongdoing involved the “use of a firearm,” Defendant was charged with two non-

violent felonies under 21 U.S.C. §§ 841(a)(1) / (b)(1)(B) and 18 U.S.C. §§ 924(c)(1)(A)(i) / (2)

and, as of now, he is serving the remainder of his sentence at Fort Dix—a low risk institution of

incarceration. Moreover, the firearm was not present at the time of Defendant’s arrest, as law

enforcement officers instead discovered the weapon during a subsequent search of his residence,

which he shared with a codefendant. In addition, Defendant has served more than 75% of his

sentence, which demonstrates a decreased risk of recidivism, and Defendant will be required to

spend the remaining unserved portion of his sentence on home confinement. Defendant has

demonstrated that he can adhere to this requirement, because, while he remained on pretrial

release for his current charges, he served approximately 18 months on home confinement

without incident. Therefore, Defendant is eligible for compassionate release, as he does not pose

a threat to the public.

        Having determined that Defendant has presented a compelling reason for release and that

he is not a threat to the public, I turn to the factors set forth in 18 U.S.C. 3553(a). See 18 U.S.C.

3582(c)(1)(A) (explaining that the court must consider “the factors set forth in section 3553(a) to

the extent that they are applicable.”); see also Epstein, 2020 U.S. Dist. LEXIS 87653, at 8. To




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that end, the following § 3553(a) factors are relevant to the outcome of this decision: “(1) the

nature . . . of the offense and the history and characteristics of the defendant; (2) the need for the

sentence imposed—(A) to reflect the seriousness of the offense, to promote respect for the law,

and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide the

defendant with needed education or vocational training, medical care, or other correctional

treatment[.]” 18 U.S.C. § 3553(a).

       Here, as to the first factor, the Court acknowledges the serious nature of Defendant’s

previous criminal wrongdoings and offenses. Nonetheless, in considering the § 3553(a) factors,

the Court cannot disregard Defendant’s higher risk of severe illness or death from Covid-19,

based on his documented medical condition. Moreover, as to the second factor, the need for the

sentence imposed, Defendant has completed 75% of his term of incarceration, which provides a

deterrent effect, and he will serve the remaining portion of his sentence on home confinement.3

Thus, the imposed sentence has and will continue to reflect the seriousness of Defendant’s

offense, promote respect for the law, and provide just punishment. In addition, because

Defendant will remain on home confinement until the unserved portion of his sentence is

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        While not dispositive, I note that federal district courts have denied a defendant’s request
for compassionate release where a defendant, despite presenting a compelling reason, has served
no more than a small portion or limited fraction of his or her prison sentence. See, e.g., United
States v. Hylander, No. 18-60017, 2020 U.S. Dist. LEXIS 68698, at *2 (S.D. Fla. Apr. 20, 2020);
United States v. Linder, No. 15-211, 2020 U.S. Dist. LEXIS 93922, at *4 (W.D. Pa. May 29,
2020); United States v. Lonich, No. 14-139, 2020 U.S. Dist. LEXIS 90634, at *3 (N.D. Cal. May
21, 2020); United States v. Brady, No. 19-136, 2020 U.S. Dist. LEXIS 86349, at *4 (S.D.N.Y.
May 15, 2020); United States v. Doty, 2020 U.S. Dist. LEXIS 109739, at *10 (S.D. W. Va. June
23, 2020); United States v. Arthur Williams, No. 15-10145, 2020 U.S. Dist. LEXIS 101926, at *1
(D. Mass. June 10, 2020); United States v. Brinkley, No. 12-80207, 2020 U.S. Dist. LEXIS
99540, at *1 (S.D. Fla. June 7, 2020); United States v. Colonna, No. 18-60012, 2020 U.S. Dist.
LEXIS 95255, at *4 (S.D. Fla. June 1, 2020). Significantly, unlike the defendants in those cases,
Defendant, here, has served a significant portion of his prison sentence—more than 75% of his
term.


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complete, the public will be protected from further potential criminal conduct. Therefore, an

application of the § 3553(a) factors, on balance, do not weigh against granting Defendant’s

motion for compassionate release. See United States v. Zukerman, Crim. No. 16-194, 2020 U.S.

Dist. LEXIS 59588, at *15 (S.D.N.Y Apr. 3, 2020) (holding that, at the time of the defendant’s

sentencing, “the Court did not intend for that sentence to ‘include incurring a great and

unforeseen risk of severe illness or death’ brought on by a global pandemic.”) (citation omitted);

United States v. Salvagno, Crim. No. 5:02-51, 2020 U.S. Dist. LEXIS 95844, at *20 (N.D.N.Y.

Apr. 23, 2020) (explaining that a punishment which includes the risk of serious illness or death

“is greater than necessary” to advance the purposes of sentencing” as reflected in the § 3553(a)

factors); United States v. Asaro, Crim. No. 17-127, 2020 U.S. Dist. LEXIS 68044, at *8

(E.D.N.Y. Apr. 17, 2020) (“I do not believe that continued detention, in light of this risk [of

serious illness or death from COVID-19], is an appropriate or proportionate way to further the

purposes of sentencing.”).

       In addition, Defendant has submitted a proposed release plan, under which he has agreed

to be placed on home confinement at his mother’s residence in Trenton, New Jersey, where his

son also resides. Moreover, if released, Defendant’s mother has explained that she will assist

Defendant in obtaining adequate health insurance, so that he can acquire appropriate medical

treatment if needed. Defendant’s mother has also explained that Defendant would work as her

home health aide, because she is recovering from a knee replacement and requires a walker to

ambulate. Significantly, the Probation Office has conducted a home inspection of the proposed

residence without any reported problems or concerns. Therefore, I find that Defendant has

provided an adequate proposed release plan that will help further the purposes of 18 U.S.C. §

3553(a).




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       In sum, having considered the applicable factors on this Motion, Defendant’s request for

compassionate relief is granted, and Defendant shall serve the remaining unserved portion of his

sentence on home confinement. See U.S.S.G. § 5F1.2 (providing that a court is permitted to

impose home confinement as “a condition of probation or supervised release, but only as a

substitute for imprisonment.”); see also United States v. Hammond, Crim. No. 18-184, 2020 U.S.

Dist. LEXIS 78646, at *8 (W.D. Pa. May 5, 2020) (“The court acknowledges that Congress gave

it authority to modify a sentence to home confinement based on a defendant’s motion for

compassionate release.”); Zukerman, 2020 U.S. Dist. LEXIS 59588, at *15 (granting the

defendant’s motion for compassionate release, and replacing his remaining term of imprisonment

with “an equal period of home incarceration.”). Moreover, to ensure that Defendant is not an

unknown carrier of Covid-19, he shall complete a two-week quarantine period before leaving

Fort Dix.

III.   CONCLUSION

       For the foregoing reasons, Defendant’s Motion for Compassionate Release is

GRANTED.



                                                                  /s/ Freda L. Wolfson
                                                                  Hon. Freda L. Wolfson
                                                                  U.S. Chief District Judge




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